Case 1:10-cr-20018-TLL-CEB ECF No. 97, PageID.309 Filed 08/10/11 Page 1 of 7




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   NORTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,                      Case No. 10-20018-BC
                                                       Honorable Thomas L. Ludington
v.

CAROLYN RENEE MOORE, LEANA B.
MCGEE, and TIARA MICHELLE BASKIN,

                  Defendants.
_______________________________/

 OPINION AND ORDER GRANTING DEFENDANT MOORE’S MOTION IN LIMINE
  AND DENYING DEFENDANT BASKIN’S MOTION TO PRODUCE DOCUMENTS

       On January 13, 2010, a grand jury in the Eastern District of Michigan returned a 126-count

indictment against Defendant Carolyn Renee Moore, alleging 65 counts of filing a tax return

including fraudulent deductions in violation of 26 U.S.C. § 7206(2); 60 counts of transmitting a tax

return with fraudulent deductions by wire in violation of 18 U.S.C. § 1343; and one count of

conspiracy to transmit by wire a tax return with fraudulent deductions in violation of 18 U.S.C. §

1349. On May 25, 2010, the grand jury returned a superseding indictment identifying three

additional defendants, Tiara Michelle Baskin, Tawhona Latrice Hunt, and Leana B. McGee, and one

additional count, conspiring to commit mail fraud in violation of 18 U.S.C. §§ 1341 and 1349. The

additional defendants were charged only in count 127 of the superseding indictment. Defendant

Moore was charged in each of the 127 counts.

       On November 2, 2010, Defendant Baskin filed a motion seeking to be tried separately from

Defendant Moore. Defendant Baskin argued that the indictment misjoined defendants who did not

participate in the same “act or transaction, or in the same series of acts or transactions, constituting

an offense or offenses.” Fed. R. Crim. P. 8(b); see also Fed. R. Crim. P. 14(a) (permitting district
Case 1:10-cr-20018-TLL-CEB ECF No. 97, PageID.310 Filed 08/10/11 Page 2 of 7




courts to sever defendant if joinder is prejudicial). The Court granted the motion in part on March

2, 2011. The Court concluded that the Defendants charged in count 127, which was primarily an

insurance fraud conspiracy, had been misjoined with Defendant Moore as charged in counts 1

through 126, which were tax fraud counts. See Fed. R. Crim. P. 8(b). Defendant Moore later

entered a guilty plea to counts 1 and 125. Counts 2 through 124 and 126 were dismissed. Defendant

Hunt also entered a guilty plea to count 127. Defendants Moore, McGee, and Baskin are scheduled

to be tried on count 127 on August 16, 2011.

       Currently pending are two motions in limine; one filed by Defendant Baskin and one filed

by Defendant Moore. Both motions arise from Defendant Baskin’s desire to introduce evidence of

Moore’s past tax fraud at the insurance fraud trial.1 Although all the counts charging Moore with

purely tax fraud schemes have been resolved or dismissed, both motions arise from Defendant

Baskin’s intention to present evidence of those alleged frauds—and apparently dozens of other

uncharged tax frauds—at the August 16 insurance fraud trial. Because the extent of Defendant

Moore’s past fraudulent conduct is of limited, if any, relevance to the offense charged in count 127,

Fed. R. Evid. 401, and it is potentially highly prejudicial to Defendant Moore, Fed. R. Evid. 403 &

404(b), it will be excluded. The probative value of Moore’s earlier tax fraud “is substantially

outweighed by the danger of unfair prejudice, confusion of the issues, misleading the jury, [and] by

considerations of undue delay, waste of time, [and] needles presentation of cumulative evidence.”

Fed. R. Evid. 403. Accordingly, Defendant Moore’s motion in limine [Dkt. # 88] will be granted

and Defendant Baskin’s motion for the production of documents [Dkt. # 90] will be denied.


       1
         The charge is referred to as an insurance fraud charge for convenience. The indictment
alleges a conspiracy to commit mail fraud in violation of 18 U.S.C. §§ 1341 and 1349. The
alleged fraud scheme involved elements of insurance fraud and tax fraud.

                                                -2-
Case 1:10-cr-20018-TLL-CEB ECF No. 97, PageID.311 Filed 08/10/11 Page 3 of 7




       A bit more background information may be helpful to understanding the current motions.

In count 127 of the superseding indictment, Defendants Moore, McGee, and Baskin are charged with

conspiring to commit mail fraud in violation of 18 U.S.C. §§ 1341 and 1349. The indictment further

alleges that the Moore, McGee, and Baskin knowingly mailed bills for in home health care services

to Progressive Insurance Company. The defendants billed Progressive for services that were

allegedly provided to Moore by Baskin and McGee, even though neither Baskin nor McGee

provided the services to Moore. The indictment further alleges that Moore would then share the

proceeds of the scheme with Baskin and McGee. Finally, in order to maximize the benefit of their

plan, Moore would prepare tax returns for Baskin and McGee with inflated deductions in order to

minimize the tax implications of the 1099 forms they received from Progressive.

       On February 9, 2011, while her motion to sever remained pending, Defendant Baskin also

filed a motion in limine requesting that the Court exclude evidence concerning the tax returns filed

by Baskin allegedly as part of the conspiracy to commit mail fraud charged in count 127. Defendant

Baskin argued that the core of the alleged conspiracy was insurance fraud, and introducing evidence

of the tax fraud would prejudice Baskin because it would more closely associate her with the tax

fraud charged against Moore in counts 1 through 126. Moreover, the government can prove all the

elements of the offense without introducing evidence of the alleged tax fraud. The Court denied the

motion, concluding that the government was required to demonstrate a conspiracy, and the alleged

agreement to commit tax fraud between Moore and Baskin could be part of that conspiracy.

       Defendant Baskin continues to object to the admission of evidence concerning her allegedly

fraudulent tax returns, but contends that if her returns are admitted so too should be the fraudulent

returns Moore filed for all of her other clients. Defendant Moore has filed a motion to exclude that


                                                -3-
  Case 1:10-cr-20018-TLL-CEB ECF No. 97, PageID.312 Filed 08/10/11 Page 4 of 7




 evidence, and Defendant Baskin has filed a motion for the government to turn over even more tax-

 related evidence, including evidence related to nonparties and tax returns that were not part of the

 first 126 counts. Although the motions are distinct, both turn on whether Moore’s earlier

 conduct—namely, filing other fraudulent tax returns—is relevant to the conspiracy charged in count

 127.

             Defendant Baskin argues that the other tax evidence is relevant because it demonstrates that

 Defendant Moore did not assist just Baskin and McGee with filing fraudulent tax returns, but with

 many other clients as well. Therefore, while the fraudulent returns filed on behalf of Baskin and

 McGee may appear to support the conspiracy theory when viewed in isolation, when viewed in

 context they are just like all the other returns Moore filed. According to Defendant Baskin, the

 preparation of false tax returns was “simply part of Ms. Moore’s pattern.”

             The Government and Defendant Moore, by contrast, assert that the earlier tax evidence is

 not relevant to the conspiracy charged in count 127. Indeed, Defendant Moore agrees with Baskin

 that none of the tax evidence is relevant. According to Moore, the earlier tax returns have nothing

 to do with the mail fraud conspiracy charged in Count 127 and should be excluded from evidence

 at trial.

         The other fraudulent tax returns, while not irrelevant, are not the smoking gun that Defendant

Baskin suggests. The other fraudulent returns may tend to suggest that filing such returns was

Moore’s regular mode of operating, and that there was nothing unique about the fact that she filed

false returns in this case. Nevertheless, the fact remains that, if the government’s allegations are

correct, she still filed false returns in this case to protect income that was fraudulently obtained in the

first place. That Moore frequently filed fraudulent returns does not diminish the culpability of


                                                     -4-
 Case 1:10-cr-20018-TLL-CEB ECF No. 97, PageID.313 Filed 08/10/11 Page 5 of 7




Baskin’s and McGee’s conduct, provided the government can demonstrate they knew the returns

Moore filed were fraudulent.

       Moreover, while the probative value of the evidence is limited, the potential for unfair

prejudice, confusion of the issues, misleading the jury, and needlessly wasting time with marginally

relevant evidence is extremely high. First, the evidence is inadmissible against Moore to demonstrate

conduct in conformity therewith. Fed. R. Evid. 404(b). That is, the fraudulent tax returns she filed

on behalf of other clients are inadmissible to demonstrate that she filed fraudulent tax returns on

behalf of Baskins and McGee. Thus, a limiting instruction would be required. A limiting instruction

concerning such a large volume of evidence is likely to be confusing, and an ineffective safeguard

for Moore.

       Second, the evidence would confuse the issues and potentially mislead the jury. Defendant

Baskin has proposed calling dozens of witnesses and consuming several days of proofs with evidence

of Moore’s earlier fraudulent activity. The core proofs related to count 127, by contrast, are likely

to take only a few days with a limited number of witnesses. The disparity is likely to mislead the

jury. Similarly, the volume of the evidence that Baskin has proposed introducing would cause undue

delay and needlessly waste time because of its limited probative value. Baskin has not demonstrated

that it is necessary to spend a majority of the trial time on a peripheral issue. Accordingly, evidence

related to past fraudulent activity on the part of Moore may not be admitted into evidence, even

though it may be marginally relevant, because its limited probative value is substantially outweighed

by “the danger of unfair prejudice, confusion of the issues, misleading the jury, [and] by

considerations of undue delay, waste of time, [and] needles presentation of cumulative evidence.”




                                                 -5-
 Case 1:10-cr-20018-TLL-CEB ECF No. 97, PageID.314 Filed 08/10/11 Page 6 of 7




Fed. R. Evid. 403.2

       Finally, Defendant Baskin contends that her constitutional right to present a complete defense

will be violated if the Court excludes evidence of Moore’s earlier fraudulent activities. See Holmes

v. South Carolina, 547 U.S. 319, 324 (2006). In Holmes, the Supreme Court concluded that states

may not use arbitrary rules of evidence to exclude evidence that casts suspicion on a third-party or

raises a conjecture that a person other than Defendant committed the charged offense. Id. 323–25.

The rule in this case is not arbitrary: Rule 403 serves an important purpose and grants trial judges

discretion to exclude relevant evidence if the dangers associated with admitting it are high.

Moreover, the evidence Defendant Baskin seeks to present does not suggest that another person

committed the crime or that Baskin was unaware of what Moore was doing. The constitutional

guarantees of due process and the right to confrontation are not implicated.

       Accordingly, it is ORDERED that Defendant Moore’s motion in limine [Dkt. # 88] is

GRANTED. Evidence of Moore’s earlier fraudulent tax activities is excluded and may not be

introduced as evidence at trial.

       It is further ORDERED that Defendant Baskin’s motion for production of additional evidence

[Dkt. # 90] is DENIED. Defendant has not demonstrated that an order requiring production or

admission of the additional evidence is warranted.

                                             s/Thomas L. Ludington
                                             THOMAS L. LUDINGTON
                                             United States District Judge



        2
        The evidence is similarly inadmissible under Rule 406 as habit evidence. One cannot
have a habit of filing false tax returns any more than one can have a habit of selling narcotics or
committing assaults. In order to be admissible under Rule 406, the evidence must demonstrate a
very specific and precise response to a particular stimulus. There is no such evidence here.

                                                -6-
 Case 1:10-cr-20018-TLL-CEB ECF No. 97, PageID.315 Filed 08/10/11 Page 7 of 7




Dated: August 10, 2011




                                                 PROOF OF SERVICE

                         The undersigned certifies that a copy of the foregoing order was served
                         upon each attorney or party of record herein by electronic means or first
                         class U.S. mail on August 10, 2011.

                                                           s/Tracy A. Jacobs
                                                           TRACY A. JACOBS




                                                            -7-
